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                       EXHIBIT 1
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                                                         July 3, 2024




    VIA ELECTRONIC MAIL ONLY

    Ashley Keller
    Jason DePauw
    J.J. Snidow
    KELLER POSTMAN
    1101 Connecticut Ave., N.W., Suite 1100
    Washington, DC 20036

             Re:      Rounds v. GlaxoSmithKline, LLC, et al., Case No. 24-cv-80266

    Dear Counsel:

    This letter is to confirm that Moore Law Group, PLLC represents David Rounds in his claim
    against the manufacturers of Zantac and has since October 2020. Mr. Rounds has instructed Moore
    Law Group, PLLC to notify your firm that you do not represent Mr. Rounds and if any attorney-
    client relationship did exist it should be considered terminated.

    If you have any questions, please do not hesitate to contact my office.

                                                    Very truly yours,


                                                    Jennifer A. Moore




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